        Case 1:04-cr-00222-WMS             Document 108         Filed 02/16/06       Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                                   DECISION AND ORDER
                                                                               04-CR-222S-3
KENNETH ARTHUR MEGO,

                               Defendant.



       1.      On September 23, 2004, this Court referred this matter to the Honorable H.

Kenneth Schroeder, United States Magistrate Judge, for all pretrial matters pursuant to 28

U.S.C. § 636(b)(1)(A), and thereafter to file a Report and Recommendation.

       2.      On September 8, 2005, Judge Schroeder filed a Report, Recommendation and

Order dated September 2, 2005 recommending that Defendant’s motion to suppress “all

electronic eavesdropping evidence” be denied in its entirety.1

       3.      No objections to the Report and Recommendation were received from either

party within ten (10) days from the date of its service, in accordance with 28 U.S.C.

§ 636(b)(1)(C) and Local Rule 72.3(a)(3).

       4.      This Court has carefully reviewed Judge Schroeder’s September 2, 2005

Report, Recommendation and Order, and the submissions of the parties with respect to

Defendant’s request to suppress the eavesdropping evidence.



       IT HEREBY IS ORDERED that this Court accepts Judge Schroeder’s September 2,

2005 Report, Recommendation and Order (Docket No. 74).




         1
                On the official docket, Defendant Mego’s m otion is designated as a “Motion for
 Discovery.” (Docket No. 40).
       Case 1:04-cr-00222-WMS       Document 108      Filed 02/16/06   Page 2 of 2


      FURTHER, that Defendant’s Motion for Discovery (Docket No. 40) is DENIED insofar

as it seeks to suppress “all electronic eavesdropping evidence.”



      SO ORDERED.


Dated: February 14, 2006
       Buffalo, New York
                                                       /s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                      United States District Judge




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